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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :      Chapter 11
                                                               :
NAVILLUS TILE, INC., DBA NAVILLUS                              :      Case No. 17-13162 (SHL)
CONTRACTING                                                    :
                                                               :
                                    Debtor.                    :
                                                               :
---------------------------------------------------------------x

                                        AFFIDAVIT OF SERVICE

STATE OF WASHINGTON )
                    ) ss
COUNTY OF KING      )

I, Emily Young, being duly sworn, depose and state:

1.        I am a Senior Consultant with Epiq Class Action & Claims Solutions, Inc.,1 the claims

and noticing agent for the debtor and debtor-in-possession (the “Debtor”) in the above-captioned

proceeding. Our business address is 1531 Utah Ave South, Suite 600, Seattle, Washington

98134.

2.        On October 8, 2018, at the direction of Cullen and Dykman LLP, Counsel for the Debtor,

I caused a true and correct copy of the following document to be served by e-mail on the parties

identified on Exhibit A annexed hereto (Master Service List and Notice of Appearance Parties

with e-mail addresses) and by first class mail on the parties identified on Exhibit B annexed

hereto (Master Service List and Notice of Appearance Parties without email addresses and

Interested Parties):




1
    Garden City Group, LLC was acquired by Epiq Class Action and Claims Solutions, Inc. on June 15, 2018.
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      Notice of Proposed Agenda of Matters Scheduled for Hearing on October 10, 2018

       at 11:00 A.M. [Docket No. 678].




                                                   /s/ Emily Young
                                                   Emily Young

Sworn to before me this 9th day of
October, 2018


/s/ Katherine Hathaway
Katherine A. Hathaway
Notary Public, State of Washington
No. 184372
Commission Expires February 26, 2020




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                              EXHIBIT A
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